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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,                     )
          Petitioner,                         )
                                              )
V.                                            )   CIVIL NO. SA-23-CV-01382
                                              )
BARRETT FIREARMS MFG. CO.                     )
82A1 Rifle, Cal: 50 BMG,                      )
SN: AA015567,                                 )
                                              )
               Respondent.                    )


                       NOTICE OF COMPLAINT FOR FORFEITURE

       1. On November 1, 2023, a Verified Complaint for Forfeiture in rem was filed in this

Court by the United States Attorney for the Western District of Texas and Assistant United States

Attorney Mary Nelda G. Valadez, against the property described below, which is also specifically

described in the Verified Complaint for Forfeiture, for the violation of Title 18 U.S.C. § 922(a)(6),

and subject to forfeiture to the United States of America pursuant to Title 18 U.S.C. § 924(d)(1),

namely:

       •   Barrett Firearms Mfg. Co. 82A1 Rifle, Cal: 50 BMG, Serial Number AA015567,

hereinafter the Respondent Firearm.

       2. Pursuant to Supplemental Rule G(4)(b), notice to any person who reasonably appears

to be a potential claimant shall be by direct notice. Accompanying this notice is the Verified

Complaint for Forfeiture which has been filed in this cause and which describes the Respondent

Firearm.    Pursuant to Supplemental Rule G(4)(b), any person claiming an interest in the

Respondent Firearm who has received direct notice of this forfeiture action must file a Claim, in

compliance with Rule G(5)(a), with the court within thirty-five (35) days after the notice was

                                                                                     APPENDIX A
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sent, if delivered by mail (if mailed, the date sent is provided below), or within 35 days of the

date of delivery, if notice was personally served. An Answer or motion under Rule 12 of the

Federal Rules of Civil Procedure must then be filed within twenty-one (21) days of the Claim

being filed.

       The Claim and Answer must be filed with the Clerk of the Court, 262 West Nueva Street,

Room 1-400, San Antonio, Texas 78207, and copies of each must be served upon Assistant United

States Attorney Mary Nelda G. Valadez, 601 N.W. Loop 410, Suite 600, San Antonio, Texas

78216, or default and forfeiture will be ordered. See Title 18 U.S.C. § 983(a)(4)(A) and Rule

G(5) of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions.

       Failure to follow the requirements set forth above will result in a judgment by default taken

against you for the relief demanded in the complaint.

       DATE NOTICE MAILED:




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